         Case:17-15507-KHT Doc#:156 Filed:05/13/19                      Entered:05/13/19 09:47:43 Page1 of 6




                                   UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF COLORADO

IN RE: ROBERT EDWARD HAMMETT                                    CASE NO: 17-15507-KHT
       SUZANNE ANDREA HAMMETT                                   DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 5/10/2019, I did cause a copy of the following documents, described below,
Cohen & Cohen's Supplemental Final Application for Fees & Expenses as Counsel for the Chpater 7 Trustee, Exhibits A -
C, 9013-1.1 Notice, and Proposed Order




ncantrell@cohenlawyers.com


to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 5/10/2019
                                                          /s/ Robertson B. Cohen, Esq.
                                                          Robertson B. Cohen, Esq. #35252
                                                          COHEN & COHEN, P.C.
                                                          1720 S. Bellaire Street
                                                          Denver, CO 80222
                                                          303 933 4529
            Case:17-15507-KHT Doc#:156 Filed:05/13/19                             Entered:05/13/19 09:47:43 Page2 of 6




                                        UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF COLORADO

 IN RE: ROBERT EDWARD HAMMETT                                           CASE NO: 17-15507-KHT
        SUZANNE ANDREA HAMMETT
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 5/10/2019, a copy of the following documents, described below,

Cohen & Cohen's Supplemental Final Application for Fees & Expenses as Counsel for the Chpater 7 Trustee, Exhibits A - C, 9013
-1.1 Notice, and Proposed Order




ncantrell@cohenlawyers.com


were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.
The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 5/10/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Robertson B. Cohen, Esq.
                                                                            COHEN & COHEN, P.C.
                                                                            1720 S. Bellaire Street
                                                                            Denver, CO 80222
          Case:17-15507-KHT
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PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                               ACSI                                     AMCOL SYSTEMS
1LABEL MATRIX FOR LOCAL NOTICING        PO BOX 301608                            PO BOX 21623
10821                                   PORTLAND OR 97294-9608                   COLUMBIA SC 29221-1623
CASE 17-15507-KHT
DISTRICT OF COLORADO
DENVER
FRI MAY 10 10-42-31 MDT 2019



AGGREGATE INDUSTRIES                    AMERICAN EXPRESS                         AMERICAN EXPRESS BANK FSB
1701 COLE BLVD 100                      PO BOX 981535                            CO BECKET AND LEE LLP
GOLDEN CO 80401                         EL PASO TX 79998-1535                    PO BOX 3001
                                                                                 MALVERN PA 19355-0701




AMERICAN FAMILY INSURANCE               BEHR LTD                                 BELLCO CREDIT UNION
6000 AMERICAN PARKWAY                   6742 N 63RD STREET                       P O BOX 6611
MADISON WI 53783-0002                   LONGMONT CO 80503-8852                   GREENWOOD VILLAGE CO 80155-6611




BENJAMIN BAIN COHEN LLC                 STEPHEN E BERKEN                         BIEHL BIEHL INC
5555 DTC PARKWAY SUITE 340              1159 DELAWARE ST                         PO BOX 87410
GREENWOOD VILLAGE CO 80111-3180         DENVER CO 80204-3607                     CAROL STREAM IL 60188-7410




BLUE FEDERAL CU                         BLUE MOUNTAIN LANDSCAPE                  JEFFREY S BRINEN
PO BOX 3200                             451 OAK                                  1660 LINCOLN ST
CHEYENNE WY 82003-3200                  FREDERICK CO 80530-7072                  STE 1850
                                                                                 DENVER CO 80264-9911




LACEY S BRYAN                           CAP EXCAVATING DEMOLITION                CMI ASSOCIATES
WADSWORTH GARBER WARNER CONRARDY PC     1070 BOSTON AVE                          2200 W BERRY AVE 2ND FLOOR
2580 W MAIN STREET                      LONGMONT CO 80501-6149                   LITTLETON CO 80120-1101
SUITE 200
LITTLETON CO 80120-4631




CU RECOVERY INC                         CAPITAL ONE                              CAPITAL PREMIUM FINANCING
26243 FOREST BLVD                       PO BOX 30285                             PO BOX 660899
WYOMING MN 55092                        SALT LAKE CITY UT 84130-0285             DALLAS TX 75266-0899




CAROLYN KAY CALDWELL                    CHASE BANK                               CHASE BANKSOUTHWEST
30 BEACH COURT                          PO BOX 15298                             PO BOX 15298
WILLIAMSON WV 25661                     WILMINGTON DE 19850-5298                 WILMINGTON DE 19850-5298




CLAUSON ASSOCIATES                      SEAN CLOYES                              COAST TO COAST RESIDENTIAL DEVELOPMENT
916 S MAIN STREET STE 202               1159 DELAWARE ST                         5377 MANHATTAN CIR 103
LONGMONT CO 80501-6673                  DENVER CO 80204-3607                     BOULDER CO 80303-4344
          Case:17-15507-KHT
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ROBERTSON B COHEN                       COLORADO DEPARTMENT OF REVENUE           COMCAST
1720 S BELLAIRE ST                      1375 SHERMAN ST ROOM 504                 ONE COMCAST CENTER
STE 205                                 ATTN- BANKRUPTCY UNIT                    PHILADELPHIA PA 19103-2899
DENVER CO 80222-4327                    DENVER CO 80261-2200




COMCAST BUSINESS                        CHRISTOPHER J CONANT                     AARON J CONRARDY
9602 S300 W STE B                       730 17TH ST                              2580 W MAIN STREET
SANDY UT 84070-3302                     STE 200                                  SUITE 200
                                        DENVER CO 80202-3506                     LITTLETON CO 80120-4631




CONVERGENT OUTSOURCING                  CREDIT COLLECTION SERVICES               JENNIFER K CRUSETURNER
800 SW 39TH ST                          715 S CANTON STREET                      7700 E ARAPAHOE RD
RENTON WA 98057-4927                    NORWOOD MA 02062                         STE 230
                                                                                 CENTENNIAL CO 80112-1439




DANS CONCRETE                           DANIEL BLUM                              DREAM HOMES STUCCO STONE
382 NORFOLK                             2919 VALMONT ROAD SUITE 209              1001 JUNIPER DRIVE
AURORA CO 80011-9343                    BOULDER CO 80301-1350                    WINDSOR CO 80550-4931




EBA INC                                 KEVIN ELLIS                              EMERGENCY SERVICE PHYSICIANS
507 CHISOM WAY                          PO BOX 172132                            PO BOX 808
BERTHOUD CO 80513-9557                  DENVER CO 80217-2132                     GRAND RAPIDS MI 49518-0808




FPL                                     FERGUSON ENTERPRISES                     FIRE DEFENSE
GENERAL MAIL FACILITY                   CO KEVIN R ELLIS                         3764 EUREKA WAY STE 5
MIAMI FL 33188-0001                     PO BOX 172132                            FREDERICK CO 80516-9479
                                        DENVER CO 80217-2132




FIRST CHOICE ER PHYSICIANS              FIRSTBANK                                FIRSTBANK
2941 LAKE VISTA DRIVE                   10403 W COLFAX AVE                       12345 WEST COLFAX AVENUE
LEWISVILLE TX 75067-3801                LAKEWOOD CO 80215-3811                   LAKEWOOD CO 80215-3742




FRONT RANGE WINDOW DOOR                 GB                                       GODIN BAITY
8160 BLAKELAND DRIVE UNIT C             145 BRADFORD DRIVE                       621 17TH STREET STE 1900
LITTLETON CO 80125-9787                 W BERLIN NJ 08091-9269                   DENVER CO 80293-0621




                                        DEBTOR
HD SUPPLY WATERWORKS                                                             SUZANNE ANDREA HAMMETT
PO BOX 1419                             ROBERT EDWARD HAMMETT                    3928 FRAILEY DRIVE
THOMASVILLE GA 31799-1419               3928 FRAILEY DRIVE                       LAFAYETTE CO 80026-9622
                                        LAFAYETTE CO 80026-9622
          Case:17-15507-KHT
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HIGGINS HOPKINS MCLAIN   ROSWELL        INTEGRAL RECOVERIES                      INTERNAL REVENUE SERVICE
100 GARFIELD ST 100                     750 W HAMPDEN AVE 501                    1999 BROADWAY MS 5012
DENVER CO 80206-5550                    ENGLEWOOD CO 80110-2166                  DENVER CO 80202-3025




INTERNAL REVENUE SERVICE                JANEWAY LAW FIRM PC                      JOSEPH L WHIPPLE
PO BOX 7346                             9800 S MERIDIAN BLVD SUITE 400           CO MARK A KIRKORSKY PC
PHILADELPHIA PA 19101-7346              ENGLEWOOD CO 80112-6038                  PO BOX 25287
                                                                                 TEMPE AZ 85285-5287




KAISER PERMANENTE                       LAW OFFICES OF SKRABO ATKINS             LEGACY STONE PRODUCTS
10350 E DAKOTA AVE                      5670 GREENWOOD PLAZA BLVD STE 400        7472 S SHAFFER LN 100
DENVER CO 80247-1309                    GREENWOOD VILLAGE CO 80111-2408          LITTLETON CO 80127-7404




LEWIS ROCA ROTHBERGER                   LINEBARGER GOGGAN BLAIR SAMPSON LLP      MR ACCOUNTING PROPERTY MANAGEMENT
1200 17TH STREET STE 3000               1515 CLEVELAND PLACE 300                 PO BOX 2293
DENVER CO 80202-5855                    DENVER CO 80202-5113                     LONGMONT CO 80502-2293




MRS ASSOCIATES                          MACHOL JOHANNES LLC                      MARKUSSON GREEN JARVIS
1930 OLNEY AVENUE                       700 17TH STREET SUITE 200                1660 LINCOLN ST STE 9250
CHERRY HILL NJ 08003-2016               DENVER CO 80202-3558                     DENVER CO 80264-2902




MCCARTHY BURGESS WOLFF                  MCCONAUGHY SARKISSIAN PC                 MCCONAUGHY SARKISSIAN PC
2600 CANNON RD                          8310 S VALLEY HIGHWAY SUITE 250          8310 SOUTH VALLEY HIGHWAY STE 250
CLEVELAND OH 44146                      ENGLEWOOD CO 80112-5815                  ENGLEWOOD CO 80112-5815




MESSNER REEVES LLP                      MIDLAND CREDIT MANAGEMENT INC            MIDLAND CREDIT MANAGEMENT INC
1430 WYNKOOP STREET STE 300             2365 NORTHSIDE DR 300                    PO BOX 2121
DENVER CO 80202-6172                    SAN DIEGO CA 92108-2709                  WARREN MI 48090-2121




NATIONWIDE CREDIT INC                   NIXON SHEFRIN HENSEN OGBURN              NORTHFIELD VILLAGE
PO BOX 26314                            5619 DTC PARKWAY 1200                    CO CLASSIC PROPERTY MGMT
LEHIGH VALLEY PA 18002-6314             GREENWOOD VILLAGE CO 80111-3061          5757 ARAPAHOE AVE STE A1
                                                                                 BOULDER CO 80303-1375




NORTHGLENN HEATING AC                   ODS FINANCING LLC                        OVERTURF MCGRAFF HULL
10977 IRMA DRIVE                        1660 LINCOLN ST STE 2200                 625 EAST 16TH AVENUE 100
NORTHGLENN CO 80233-3619                DENVER CO 80264-2202                     DENVER CO 80203-2052
          Case:17-15507-KHT
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PAUL REGINA SVARE                       PRECISION ROOFING DESIGN INC             RAY LEGO ASSOCIATES
32036 EDWARD DRIVE                      1626 18TH AVENUE                         6060 WILLOW DRIVE 100
CONIFER CO 80433-8809                   LONGMONT CO 80501-7147                   GREENWOOD VILLAGE CO 80111-5112




SCOTT L EVANS                           SOUTH DENVER WINDUSTRIAL CO              SPRINT NEXTEL CORRESPONDENCE
1430 WYNKOOP ST                         3200 S ZUNI ST B                         ATTN BANKRUPTCY DEPT
SUITE 300                               ENGLEWOOD CO 80110-2142                  PO BOX 7949
DENVER CO 80202-6172                                                             OVERLAND PARK KS 66207-0949




STANDARD FENCE COMPANY                  STELLAR RECOVERY INC                     STUART ALLAN ASSOCIATES
4680 JASON STREET                       1327 HIGHWAY 2 W SUITE 100               5447 E 5TH ST STE 110
DENVER CO 80211-2324                    KALISPELL MT 59901-3413                  TUCSON AZ 85711-2345




SWEETBAUM SANDS ANDERSON PC             SYNCHRONY BANK                           SYNCHRONY BANKPAYPAL
1125 17TH STREET SUITE 2100             CO PRA RECEIVABLES MANAGEMENT LLC        PO BOX 965036
DENVER CO 80202-2005                    PO BOX 41021                             ORLANDO FL 32896-5036
                                        NORFOLK VA 23541-1021




TICOS ROOFING                           US TRUSTEE                               UNITED RENTALS NORTH AMERICA
1320 DUFF DRIVE                         BYRON G ROGERS FEDERAL BUILDING          100 FIRST STAMFORD PLACE STE 700
FT COLLINS CO 80524-2786                1961 STOUT ST                            STAMFORD CT 06902-9200
                                        STE 12-200
                                        DENVER CO 80294-6004




UNITED RENTALS NORTH AMERICA INC        VERIZON                                  VIKING SUPPLY NET
CO MARK A KIRKORSKY PC                  BY AMERICAN INFOSOURCE LP AS AGENT       210 N INDUSTRIAL PARK DRIVE
PO BOX 25287                            PO BOX 248838                            HASTINGS MI 49058-9706
TEMPE AZ 85285-5287                     OKLAHOMA CITY OK 73124-8838




WFJ                                     WARREN CREDIT UNION                      JEFFREY A WEINMAN
1700 IDS CENTER                         114 E 7TH AVE                            730 17TH ST
MINNEAPOLIS MN 55402-8664               CHEYENNE WY 82001-1314                   STE 240
                                                                                 DENVER CO 80202-3506




WELD COUNTY DISTRICT COURT              WELLS FARGO BANK                         WELLS FARGO BANK
PO BOX 2038                             420 MONTGOMERY ST                        PO BOX 10438
GREELEY CO 80632-2038                   SAN FRANCISCO CA 94104-1298              DES MOINES IA 50306-0438




WELLS FARGO BANK NA                     WELLS FARGO HOME MORTGAGE                WESTERN EXPOSURE PHOTOGRAPHY
SMALL BUSINESS LENDING DIVISION         PO BOX 10335                             PO BOX 597
PO BOX 29482                            DES MOINES IA 50306-0335                 ERIE CO 80516-0597
PHOENIX AZ 85038-9482
